QUARTERLY OPERATING REPORT -                                                                                                 ATTACHMENT NO. 1
POST CONFIRMATION


                                             QUESTIONNAIRE
                                                                                                       YES*       NO
 +DYHDQ\DVVHWVEHHQVROGRUWUDQVIHUUHGRXWVLGHWKHQRUPDOFRXUVHRIEXVLQHVVRURXWVLGH
                                                                                                                   ;
   WKH3ODQRI5HRUJDQL]DWLRQGXULQJWKLVUHSRUWLQJSHULRG"
 $UHDQ\SRVWFRQILUPDWLRQVDOHVRUSD\UROOWD[HVSDVWGXH"                                                     ;
 $UHDQ\DPRXQWVRZHGWRSRVWFRQILUPDWLRQFUHGLWRUVYHQGRUVRYHUGD\VGHOLQTXHQW"                            ;
 ,VWKH'HEWRUFXUUHQWRQDOOSRVWFRQILUPDWLRQSODQSD\PHQWV"                                         ;
*If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.


                                      INSURANCE INFORMATION
                                                                                                       YES        NO*
 $UHUHDODQGSHUVRQDOSURSHUW\YHKLFOHDXWRJHQHUDOOLDELOLW\ILUHWKHIWZRUNHU
V
   FRPSHQVDWLRQDQGRWKHUQHFHVVDU\LQVXUDQFHFRYHUDJHVLQHIIHFW"                                      ;

 $UHDOOSUHPLXPSD\PHQWVFXUUHQW"                                                                              1$
*If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.


              CONFIRMATION OF INSURANCE
                                                                                                          Payment
                                                                                                        Amount and          Delinquency
                          Type of Policy and Carrier                     Period of Coverage              Frequency           Amount
6(($77$&+0(17%

        DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:
   'XULQJWKHSHULRGFRYHUHGE\WKLV4XDUWHUO\2SHUDWLQJ5HSRUWWKH3ODQ$GPLQLVWUDWRUDQGKLVSURIHVVLRQDOVKDYHEHHQDFWLYHO\
   HQJDJHGLQDYDULHW\RIDFWLYLWLHVDVVRFLDWHGZLWKWKHZLQGGRZQRIWKH3RVW(IIHFWLYH'DWH'HEWRUVLQFOXGLQJDPRQJRWKHUDFWLYLWLHV
   PRQHWL]LQJILQDQFLDODQGWDQJLEOHDVVHWVRIWKHHVWDWHPDQDJLQJDQGVDWLVI\LQJSRVWFRQILUPDWLRQYHQGRUREOLJDWLRQVUHVROYLQJWUDLOLQJ
   LVVXHVUHODWLQJWRWKHWUDQVLWLRQRIYDULRXVEXVLQHVVIXQFWLRQVDQGDFWLYLWLHVWRWKHSDUWLHVZKRSXUFKDVHGDVVHWVSXUVXDQWWRWKH3ODQ
   UHYLHZLQJUHFRQFLOLQJDQGUHVROYLQJFODLPVDQGGHWHUPLQLQJWKHEHVWFRXUVHRIDFWLRQIRUYDULRXVRWKHURSHQLVVXHVLQFOXGLQJWKH
   GLVSRVLWLRQRIXQUHVROYHGOLWLJDWLRQ

   7KH3ODQ$GPLQLVWUDWRUDQGKLVSURIHVVLRQDOVKDYHPDGHJRRGSURJUHVVRQDOORIWKHDIRUHPHQWLRQHGDFWLYLWLHVGXULQJWKHSHULRGHQGHG
   -XQH1HYHUWKHOHVVJLYHQWKHFRPSOH[LW\RIWKHWUDQVLWLRQSURFHVVDVLJQLILFDQWYROXPHRIZLQGGRZQLVVXHVDQGWKH
   PDJQLWXGHRIILOHGFODLPVLQWKLVFDVHWKH3ODQ$GPLQLVWUDWRUFXUUHQWO\DVVXPHVWKDWKLVUHVSRQVLELOLWLHVRQEHKDOIRIWKH3RVW
   (IIHFWLYH'DWH'HEWRUVDQGLWVFUHGLWRUVZLOOQRWEHVXEVWDQWLDOO\FRPSOHWHXQWLOVRPHSRLQWLQWKHIRXUWKTXDUWHURI




  Estimated Date of Filing the Application for Final Decree: ____________________


,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVVWDWHPHQWDQGWKHDFFRPSDQ\LQJGRFXPHQWVDQGUHSRUWVDUHWUXHDQGFRUUHFWWRWKH
EHVWRIP\NQRZOHGJHDQGEHOLHI


7KLVVWGD\RI2FWREHU




-2+15%2.(1
&+,()),1$1&,$/2)),&(5
581:$</,48,'$7,21+2/',1*6//&HWDO

                                                                           2
QUARTERLY OPERATING REPORT -                                                              ATTACHMENT NO. 1 - A
POST CONFIRMATION

                             SIGNIFICANT ASSET SALES AND TRANSFERS
          '$7(                  385&+$6(35,&(               $66(7662/'
                                       



2QHRIWKHSULQFLSDOUHVSRQVLELOLWLHVRIWKH3ODQ$GPLQLVWUDWRUDQGKLVSURIHVVLRQDOVLVWRPRQHWL]HRUGLVSRVHRIDOO
UHPDLQLQJDVVHWVRIWKH3RVW(IIHFWLYH'DWH'HEWRUV&HUWDLQDVVHWVDQGWDQJLEOHSHUVRQDOSURSHUW\ZHUHQRWVROGLQ
FRQQHFWLRQZLWKWKHDVVHWVDOHVDSSURYHGLQWKH3ODQDQGWKXVUHPDLQHGDVDVVHWVRIWKH3RVW(IIHFWLYH'DWH'HEWRUVWR
EHPRQHWL]HGRUGLVSRVHGRIE\WKH3ODQ$GPLQLVWUDWRU

7KHUHODWLYHYDOXHRIWKHUHPDLQLQJWDQJLEOHSHUVRQDOSURSHUW\RIWKH3RVW(IIHFWLYH'DWH'HEWRUVLVQRWPDWHULDO
*LYHQWKHUROHDQGUHVSRQVLELOLWLHVRIWKH3ODQ$GPLQLVWUDWRUWKHVDOHRIDQ\VXFKUHPDLQLQJDVVHWVDUHFRQVLGHUHG
RUGLQDU\FRXUVHIRUSXUSRVHVRIWKLV4XDUWHUO\2SHUDWLQJ5HSRUW)RUGLVFORVXUHSXUSRVHVWKLVDWWDFKPHQWLVLQWHQGHG
WROLVWDOODVVHWVDOHVRUWUDQVIHUVDERYHWKDWGROODUWKUHVKROGGXULQJWKHTXDUWHUO\SHULRGHQGLQJ6HSWHPEHU




                                                            3
QUARTERLY OPERATING REPORT -                                                                   ATTACHMENT NO. 1 - B
POST CONFIRMATION

                              Confirmation of Insurance - Paid in Full Premiums
                                                                                                         Delinquency
 Type of Policy        Carrier        Period of Coverage           Payment Amount         Frequency       Amount
                 
'	2\HDUWDLO    &KXEE          WR                    3DLGLQIXOO        1$


'XULQJWKHSULRU5HSRUWLQJ3HULRGHQGHG'HFHPEHU5XQZD\/LTXLGDWLRQ+ROGLQJV//&DQGLWVDIILOLDWHG3RVW
(IIHFWLYH'DWH'HEWRUVWHUPLQDWHGDOOUHPDLQLQJHPSOR\HHVDQGDWWKLVSRLQWQRORQJHUUHPDLQLQSRVVHVVLRQRIDQ\
PDWHULDOQRQILQDQFLDODVVHWV$VDUHVXOWWKH3ODQ$GPLQLVWUDWRUGHWHUPLQHGWKDWFHUWDLQLQVXUDQFHFRYHUDJHVFRXOGEH
DOORZHGWRH[SLUHDQGQRWEHUHQHZHGZLWKRXWFUHDWLQJXQGXHULVNWRWKH3RVW(IIHFWLYH'DWH'HEWRUVDQGWKHZLQGGRZQ
SURFHVV7KH3ODQ$GPLQLVWUDWRUDQGKLVUHSUHVHQWDWLYHVKDYHDQGZLOOFRQWLQXHWRHYDOXDWHZKHWKHUDGGLWLRQDOLQVXUDQFH
FRYHUDJHRWKHUWKDQWKDWFRYHUDJHWKDWUHPDLQVLQSODFHDVRIWKHHQGRIWKH5HSRUWLQJ3HULRGRUIXUWKHUFRRUGLQDWLRQ
ZLWKLQVXUDQFHSURYLGHUVLVDGYLVDEOHDQGSUXGHQW




                                                             4
QUARTERLY OPERATING REPORT -                                                                                ATTACHMENT NO. 2
POST CONFIRMATION
                                    CHAPTER 11 POST-CONFIRMATION
                                SCHEDULE OF RECEIPTS AND DISBURSEMENTS

Case Name: In re: Runway Liquidation Holdings, LLC, et al.
Case Number: 17-10466 (SCC)
Date of Plan Confirmation: July 31, 2017




                                                                            Quarterly                 Post Confirmation Total
                                                       1
 CASH (Beginning of Period - July 1, 2018 Opening)             $              5,825,407.22 $                            6,015,738.72
                                               2
 INCOME or RECEIPTS during the Period                                     
   D GBG Receipts Held for Transfer                                       
   E Less: GBG Receipts Held for Transfer (Prior Period)            
   F Amounts Charged-Back to GBG for GBG costs                             

      Total Receipts                                                           5,860,229.55                          243,329,665.07

 DISBURSEMENTS
   D Operating Expenses (Fees/Taxes):
      L 867UXVWHH4XDUWHUO\)HHV                                     
      LL )HGHUDO7D[HV                                                
      LLL 6WDWH7D[HV                                                 
      LY 2WKHU7D[HV                                                   

      E All Other Operating Expenses:                                      

      F Plan Payments:
         L $GPLQLVWUDWLYH&ODLPV                                        
         LL &ODVV2QH6HFXUHG7D[&ODLPV                            
         LLL &ODVV7ZR2WKHU6HFXUHG&ODLPV                         
         LY &ODVV7KUHH2WKHU3ULRULW\&ODLPV                        
         Y &ODVV)RXU7HUP/RDQ1HZ7UDQFKH$&ODLPV               
         YL &XUH$PRXQWV                                              
         YLL 2WKHU3ODQ3D\PHQWV                                      

      Total Disbursements (Operating & Plan)                                  (2,538,381.08)                        (240,007,816.60)

 CASH (End of Period - September 29, 2018)                     $              3,321,848.47 $                            3,321,848.47

Notes:
1
  See Attachment No. 2A
2
    See Attachment No. 2B




                                                             5
QUARTERLY OPERATING REPORT -                                        ATTACHMENT NO. 2A
POST CONFIRMATION

7KH$PHQGHG-RLQW3ODQRI5HRUJDQL]DWLRQWKH³3ODQ´IRU%&%*0D[$]ULD*OREDO
+ROGLQJV//&DQGLWV'HEWRU$IILOLDWHVEHFDPHHIIHFWLYHRQ-XO\WKH³(IIHFWLYH
'DWH´

7KLV4XDUWHUO\2SHUDWLQJ5HSRUW³425´FRYHUVWKHSHULRGIURP-XO\WKURXJK
6HSWHPEHU7KHVWDUWLQJGDWHIRUWKH425LVWKHILUVWGD\RIWKHDFFRXQWLQJ
PRQWKRI-XO\IRU5XQZD\/LTXLGDWLRQ+ROGLQJV//&HWDOIND%&%*0D[$]ULD
*OREDO+ROGLQJV//&WKH³&RPSDQ\´RUWKH³3RVW(IIHFWLYH'DWH'HEWRUV´DQGWKHGD\
VXEVHTXHQWWRWKHFORVLQJGDWHRIWKH-XQH425ILOHGE\WKH&RPSDQ\RQ
$XJXVW'RFNHW

7KH3RVW(IIHFWLYH'DWH'HEWRUVKDYHQRW\HWFRPSOHWHGWKHFORVLQJRIWKH&RPSDQ\¶V
ERRNVDQGUHFRUGVIRUWKHPRQWKO\DFFRXQWLQJSHULRGVHQGLQJ-XO\
$XJXVWDQG6HSWHPEHU$VDUHVXOWWKLV425GRHVQRWLQFOXGH
FRPSDUDWLYHERRNEDODQFHVIRUHDFKRIWKHH[LVWLQJEDQNDFFRXQWVDVRIWKHHQGRIWKH-XO\
$XJXVWDQG6HSWHPEHUSHULRGVRQWKHDWWDFKHGEDQNDFFRXQW
UHFRQFLOLDWLRQVFKHGXOHV+RZHYHUJLYHQWKHQDWXUHDQGWLPLQJRILWVSRVW(IIHFWLYH'DWH
GLVEXUVHPHQWVWKH&RPSDQ\EHOLHYHVWKDWDQ\UHFRQFLOLDWLRQGLIIHUHQFHVEHWZHHQEDQNDQG
ERRNEDODQFHVDVRIWKRVHPRQWKHQGGDWHVDUHLPPDWHULDO

,QWKHHYHQWWKDWDIWHUFORVLQJLWVERRNVDQGUHFRUGVIRUWKH-XO\$XJXVWDQG
6HSWHPEHUSHULRGVWKH&RPSDQ\LGHQWLILHVDQ\PDWHULDOEDQNWRERRNUHFRQFLOLDWLRQ
LWHPVIRUDQ\RILWVDFFRXQWVWKH3ODQ$GPLQLVWUDWRUPD\HOHFWWRDPHQGWKLV425ZLWK
DQ\VXFKLQIRUPDWLRQ




                                             6
QUARTERLY OPERATING REPORT -                                         ATTACHMENT NO. 2B
POST CONFIRMATION

)RUWKLV5HSRUWLQJ3HULRGWKHUHFHLSWVDQGGLVEXUVHPHQWVLQIRUPDWLRQSUHVHQWHGDW
$WWDFKPHQWLVQHWRIFDVKUHFHLYHGIRUWKHEHQHILWRIDQGWUDQVIHUUHGWR*OREDO%UDQGV
*URXS*%*$Q\VXFKUHFHLSWVZHUHQRWSURSHUW\RIWKH3RVW(IIHFWLYH'DWH'HEWRUV
,QFRQQHFWLRQZLWKWKHRQJRLQJWUDQVLWLRQDQGXQZLQGLQJRIYDULRXVFRPSOH[WUHDVXU\
IXQFWLRQVDQGV\VWHPVFHUWDLQ*%*FDVKUHFHLSWVDQGSD\PHQWVIURPFXVWRPHUVKDYH
FRQWLQXHGWRIORZWKURXJKWKH3RVW(IIHFWLYH'DWH'HEWRUV
DFFRXQWVZKLOH*%*IXUWKHUV
LWVSURFHVVRIHVWDEOLVKLQJDVWDQGDORQHWUHDVXU\V\VWHPIRUWKHDFTXLUHG%&%*EXVLQHVV

$VRIWKHSHULRGHQGGDWHRIWKLV4256HSWHPEHUWKH3RVW(IIHFWLYH'DWH
'HEWRUVZHUHLQSRVVHVVLRQRIRI*%*UHFHLSWVWKDWZHUHQRWSURSHUW\RIWKH
3RVW(IIHFWLYH'DWH'HEWRUVDQGKDGQRW\HWEHHQWUDQVIHUUHGWR*%*7KLVSHULRGHQG
ILJXUHZDVDQHWGHFUHDVHRIIURPWKHDPRXQWRI*%*UHFHLSWVKHOGIRU
WUDQVIHUWR*%*DVRIWKHSULRU425SHULRGHQGGDWHRI-XQH
7\SLFDOO\DQ\*%*UHFHLSWVLQSRVVHVVLRQRIWKH3RVW(IIHFWLYH'DWH'HEWRUVDVRIDQ\
PHDVXUHPHQWGDWHUHSUHVHQW*%*UHFHLSWVIURPWKHSULRUZHHNO\SHULRG




                                             7
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                             1                    2

   Name of Bank:                                                      Bank of America      Bank of America

   Account Number:                                                      XXXXXX4859          XXXXXXX5308


                                                                                           BCBG Accounts
                                                                       Estate Runway
   Purpose of Account (Operating/Payroll/Tax)                                             Payable - Controlled
                                                                          Account
                                                                                            Disbursements


   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              $2,065,537.19         $97,999.52




                                                               8
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account             Account
                                                                              3                   4

   Name of Bank:                                                       Bank of America     Bank of America

   Account Number:                                                      XXXXXXX3453         XXXXXXX3458


                                                                      BCBG Concentration     BCBG Payroll
   Purpose of Account (Operating/Payroll/Tax)
                                                                        Account - BAML         Account



   Type of Account (e.g. checking)                                    Business Checking    Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)               $586,536.94         Closed 7/9/18




                                                               9
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                             5                   6

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX3496        XXXXXXX1382


                                                                         BCBG State
   Purpose of Account (Operating/Payroll/Tax)                         Taxes/Payroll Taxes BCBG DACA Account
                                                                           Account


   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              Closed 7/9/18         $4,665.01




                                                               10
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account             Account
                                                                              7                   8

   Name of Bank:                                                       Bank of America     Bank of America

   Account Number:                                                      XXXXXXX8105         XXXXXXX1653

                                                                      BCBG Concentration
                                                                          Account -        BCBG Ecommerce
   Purpose of Account (Operating/Payroll/Tax)
                                                                       Ecommerce/Retail       Account
                                                                          Locations

   Type of Account (e.g. checking)                                    Business Checking    Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)                $10,000.00         Closed 7/9/18




                                                               11
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                             9                  10

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX3477        XXXXXXX4650


                                                                                           Dedicated GBG
   Purpose of Account (Operating/Payroll/Tax)                         BCBG Rent Account
                                                                                              Account



   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              Closed 7/9/18        $70,979.87




                                                               12
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
POST CONFIRMATION




   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            11                   12

   Name of Bank:                                                      Bank of America(1)   Bank of America

   Account Number:                                                      XXXXXXX3491         XXXXXXX5322


                                                                                           BCBG Local Taxes
   Purpose of Account (Operating/Payroll/Tax)                         GUC Pool Account
                                                                                              Account



   Type of Account (e.g. checking)                                    Business Checking    Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)               $900,000.00         $144,288.07




                                                               13
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            13                   14

   Name of Bank:                                                        Wells Fargo             Chase

   Account Number:                                                     XXXXXXX6546          XXXXXXX4354


                                                                         Wells Fargo
                                                                                          Chase Concentration
   Purpose of Account (Operating/Payroll/Tax)                           Concentration
                                                                                               Account
                                                                          Account


   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              $333,953.47          $179,409.60




                                                               14
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            15                   16

   Name of Bank:                                                             TD                 PNC

   Account Number:                                                     XXXXXXX2594          XXXXXXX5171


                                                                                          BCBG Prime Outlets
   Purpose of Account (Operating/Payroll/Tax)                         BCBG - Store #415
                                                                                          @ Hagerstown #469



   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)               $454,326.05         $125,510.15




                                                               15
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            17                   18

   Name of Bank:                                                       First Hawaiian      Bank of Hawaii

   Account Number:                                                     XXXXXXX4970          XXXXXXX1887


                                                                                          BCBG - Stores #406
   Purpose of Account (Operating/Payroll/Tax)                         BCBG - Store #706
                                                                                               & #777



   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)                $4,952.79           $25,694.06




                                                               16
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                            19                  20

   Name of Bank:                                                          US Bank         Bank of America

   Account Number:                                                     XXXXXXX6593         XXXXXXX3313


                                                                                          BCBG Wholesale
   Purpose of Account (Operating/Payroll/Tax)                         BCBG - Store #514
                                                                                             Account



   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)               $11,425.87             $0.00




                                                               17
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                            21                  22

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX9824        XXXXXXX9800


                                                                      BCBG E-Commerce BCBG E-Commerce
   Purpose of Account (Operating/Payroll/Tax)
                                                                      Account Herve Leger Account



   Type of Account (e.g. checking)                                    Business Checking   Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              Closed 7/9/18       Closed 7/9/18




                                                               18
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account             Account
                                                                             23                  24

   Name of Bank:                                                       Bank of America      Bank of America

   Account Number:                                                      XXXXXXX9805          XXXXXXX4636


                                                                      BCBG E-Commerce      BCBG Partnershops
   Purpose of Account (Operating/Payroll/Tax)
                                                                      Account Generation       Account



   Type of Account (e.g. checking)                                    Business Checking    Business Checking


   Balance per Bank Statement (Closing Balance - 07/28/18)              Closed 7/9/18            $0.00




                                                               19
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                            25                   26
                                                                                          First Bank of the
   Name of Bank:                                                      Queenstown Bank
                                                                                                Lake
   Account Number:                                                     XXXXXXX1501         XXXXXXX2061


                                                                       BCBG Factory,       BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                        Queenstown          Osage Beach


                                                                                          Business Analysis
   Type of Account (e.g. checking)                                    Business Checking
                                                                                          Checking Account

   Balance per Bank Statement (Closing Balance - 07/28/18)                $500.00              $49.10




                                                               20
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                            27                  28

   Name of Bank:                                                          Berkshire        Bank of America

   Account Number:                                                      XXXXXXX4191         XXXXXXX8760


                                                                        BCBG Factory,       Max Azria, W
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Manchester          Broadway



   Type of Account (e.g. checking)                                    Corporate Checking        ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $260.28              $0.00




                                                               21
QUARTERLY OPERATING REPORT -                                                             ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           29                30

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX4588       XXXXXXX7008


                                                                       BCBG Factory,     BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Orlando         Orlando Prime



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               22
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account            Account
                                                                            31                 32

   Name of Bank:                                                      Bank of America     Bank of America

   Account Number:                                                     XXXXXXX7617         XXXXXXX1683


                                                                      BCBG Factory, Las    BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Americas          Sawgrass Mills



   Type of Account (e.g. checking)                                          ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               23
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account            Account
                                                                            33                 34

   Name of Bank:                                                      Bank of America     Bank of America

   Account Number:                                                     XXXXXXX0609         XXXXXXX2266


                                                                      BCBG Factory, Las
   Purpose of Account (Operating/Payroll/Tax)                                                Livermore
                                                                       Vegas Premium



   Type of Account (e.g. checking)                                          ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               24
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account            Account
                                                                            35                 36

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX4682        XXXXXXX4781


                                                                                           BCBG, King of
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Westchester
                                                                                             Prussia



   Type of Account (e.g. checking)                                          ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               25
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           37                38

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX9116       XXXXXXX5595


                                                                      BCBG, Fashion      BCBG, Dallas
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Island            Galleria



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               26
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account            Account
                                                                             39                 40

   Name of Bank:                                                       Bank of America     Bank of America

   Account Number:                                                      XXXXXXX4804         XXXXXXX9872



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Lenox Square   BCBG, Somerset



   Type of Account (e.g. checking)                                           ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00               $0.00




                                                               27
QUARTERLY OPERATING REPORT -                                                              ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account            Account
                                                                           41                 42

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX4809       XXXXXXX4866



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Roosevelt   BCBG, Boca Raton



   Type of Account (e.g. checking)                                         ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               28
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           43                44

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX4903       XXXXXXX2950


                                                                       BCBG, Mall at    BCBG, Sherman
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Millenia           Oaks



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               29
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account            Account
                                                                            45                 46

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX4922        XXXXXXX3326


                                                                                          BCBG, Topanga
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, South Beach
                                                                                             Plaza



   Type of Account (e.g. checking)                                          ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               30
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           47                48

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX1954       XXXXXXX9387


                                                                                        BCBG, Pembroke
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Aventura
                                                                                           Gardens



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               31
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account              Account
                                                                             49                   50

   Name of Bank:                                                       Bank of America      Bank of America

   Account Number:                                                      XXXXXXX2228          XXXXXXX6868


                                                                      BCBG, 5th Avenue at
   Purpose of Account (Operating/Payroll/Tax)                                               BCBG, Menlo Park
                                                                             40th



   Type of Account (e.g. checking)                                           ZBA                  ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                   $0.00               $0.00




                                                               32
QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account            Account
                                                                             51                 52

   Name of Bank:                                                       Bank of America    Bank of America

   Account Number:                                                      XXXXXXX8462        XXXXXXX1677



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Forum Shops BCBG, La Plaza Mall



   Type of Account (e.g. checking)                                           ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               33
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account              Account
                                                                             53                   54

   Name of Bank:                                                       Bank of America       Bank of America

   Account Number:                                                      XXXXXXX1218           XXXXXXX4754


                                                                      BCBG, International
   Purpose of Account (Operating/Payroll/Tax)                                               BCBG, Twelve Oaks
                                                                           Plaza



   Type of Account (e.g. checking)                                           ZBA                  ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00                 $0.00




                                                               34
QUARTERLY OPERATING REPORT -                                                             ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           55                56

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX6903       XXXXXXX4606


                                                                       BCBG, Beverly     BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                          Center          Dolphin Mall



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               35
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account             Account
                                                                             57                  58

   Name of Bank:                                                       Bank of America      Bank of America

   Account Number:                                                      XXXXXXX2401          XXXXXXX0796


                                                                      BCBG Factory, Great
   Purpose of Account (Operating/Payroll/Tax)                                               BCBG, Las Vegas
                                                                         Lakes Mall



   Type of Account (e.g. checking)                                           ZBA                 ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                   $0.00               $0.00




                                                               36
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account           Account
                                                                            59                60

   Name of Bank:                                                      Bank of America    Bank of America

   Account Number:                                                     XXXXXXX4729        XXXXXXX4842


                                                                                         BCBG, Tyson's
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Georgetown
                                                                                           Galleria



   Type of Account (e.g. checking)                                          ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00              $0.00




                                                               37
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account            Account
                                                                           61                 62

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX9946       XXXXXXX4946


                                                                                        BCBG, Shops at La
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Waterside
                                                                                            Cantera



   Type of Account (e.g. checking)                                         ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00              $0.00




                                                               38
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           63                64

   Name of Bank:                                                      Bank of America   Bank of America

   Account Number:                                                     XXXXXXX4984       XXXXXXX3997


                                                                                        BCBG, Oakbrook
   Purpose of Account (Operating/Payroll/Tax)                          BCBG, Flatiron
                                                                                           Center



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               39
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            65                   66

   Name of Bank:                                                      Bank of America      Bank of America

   Account Number:                                                     XXXXXXX9774          XXXXXXX9927


                                                                                          BCBG, Americana at
   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Cherry Hill
                                                                                                Brand



   Type of Account (e.g. checking)                                          ZBA                  ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00                $0.00




                                                               40
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account             Account
                                                                             67                  68

   Name of Bank:                                                       Bank of America     Bank of America

   Account Number:                                                      XXXXXXX0142         XXXXXXX0147


                                                                      BCBG, Santa Monica
   Purpose of Account (Operating/Payroll/Tax)                                              BCBG, Short Hills
                                                                            Place



   Type of Account (e.g. checking)                                           ZBA                 ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00               $0.00




                                                               41
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account            Account
                                                                             69                 70

   Name of Bank:                                                            Chase              Chase

   Account Number:                                                      XXXXXXX5362        XXXXXXX6048



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Perkins Rowe BCBG, Cherry Creek



   Type of Account (e.g. checking)                                           ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               42
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                        Account         Account
                                                                          71              72

   Name of Bank:                                                      Wells Fargo     Wells Fargo

   Account Number:                                                    XXXXXXX0300     XXXXXXX0359


                                                                      BCBG Factory,   BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Citadel        Carlsbad



   Type of Account (e.g. checking)                                        ZBA             ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00           $0.00




                                                               43
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account             Account
                                                                            73                  74

   Name of Bank:                                                         Wells Fargo        Wells Fargo

   Account Number:                                                      XXXXXXX0466         XXXXXXX0565


                                                                      BCBG Factory, Park
   Purpose of Account (Operating/Payroll/Tax)                                            BCBG, San Francisco
                                                                            City



   Type of Account (e.g. checking)                                          ZBA                 ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00               $0.00




                                                               44
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                           Account            Account
                                                                             75                 76

   Name of Bank:                                                         Wells Fargo        Wells Fargo

   Account Number:                                                      XXXXXXX0599        XXXXXXX0714



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Sunset Plaza   BCBG, Venetian



   Type of Account (e.g. checking)                                           ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00              $0.00




                                                               45
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information
                                                                         Account            Account
                                                                           77                 78

   Name of Bank:                                                        Wells Fargo       Wells Fargo

   Account Number:                                                     XXXXXXX0748       XXXXXXX0763


                                                                        BCBG, Desert    BCBG, Scottsdale
   Purpose of Account (Operating/Payroll/Tax)
                                                                      Passage@Aladdin    Fashion Square



   Type of Account (e.g. checking)                                         ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                 $0.00             $0.00




                                                               46
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           79                80

   Name of Bank:                                                      Bank of Hawaii    Bank of Hawaii

   Account Number:                                                    XXXXXXX3651       XXXXXXX0640


                                                                      BCBG Factory,    BCBG International
   Purpose of Account (Operating/Payroll/Tax)
                                                                        Waikele          Market Place



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00              $0.00




                                                               47
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account            Account
                                                                            81                 82

   Name of Bank:                                                           Chase              Chase

   Account Number:                                                      XXXXXXX5347       XXXXXXX5297



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Canal Place   BCBG, Keystone



   Type of Account (e.g. checking)                                          ZBA                ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00             $0.00




                                                               48
QUARTERLY OPERATING REPORT -                                                          ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                        Account         Account
                                                                          83              84

   Name of Bank:                                                      Wells Fargo     Wells Fargo

   Account Number:                                                    XXXXXXX0318     XXXXXXX0334


                                                                      BCBG Factory,   BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                        Cabazon         Camarillo



   Type of Account (e.g. checking)                                        ZBA             ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00           $0.00




                                                               49
QUARTERLY OPERATING REPORT -                                                                 ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                          Account              Account
                                                                            85                   86

   Name of Bank:                                                        Wells Fargo          Wells Fargo

   Account Number:                                                      XXXXXXX0342         XXXXXXX0375


                                                                      BCBG Factory, San   BCBG Factory, Allen
   Purpose of Account (Operating/Payroll/Tax)
                                                                          Marcos              Premium



   Type of Account (e.g. checking)                                          ZBA                  ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                  $0.00               $0.00




                                                               50
QUARTERLY OPERATING REPORT -                                                          ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                        Account         Account
                                                                          87              88

   Name of Bank:                                                       Wells Fargo     Wells Fargo

   Account Number:                                                    XXXXXXX0656     XXXXXXX0664


                                                                      BCBG, Fashion   BCBG, Houston
   Purpose of Account (Operating/Payroll/Tax)
                                                                         Valley          Galleria



   Type of Account (e.g. checking)                                        ZBA             ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00           $0.00




                                                               51
QUARTERLY OPERATING REPORT -                                                             ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           89                90

   Name of Bank:                                                       Wells Fargo       Wells Fargo

   Account Number:                                                    XXXXXXX0789       XXXXXXX0862



   Purpose of Account (Operating/Payroll/Tax)                         BCBG, Stanford   BCBG, The Domain



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00             $0.00




                                                               52
QUARTERLY OPERATING REPORT -                                                             ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

   Bank Account Information
                                                                         Account           Account
                                                                           91                92

   Name of Bank:                                                       Wells Fargo        Wells Fargo

   Account Number:                                                    XXXXXXX0870        XXXXXXX0888


                                                                      BCBG, Plaza El
   Purpose of Account (Operating/Payroll/Tax)                                          BCBG, ABQ Uptown
                                                                        Segundo



   Type of Account (e.g. checking)                                         ZBA               ZBA


   Balance per Bank Statement (Closing Balance - 07/28/18)                $0.00              $0.00




                                                               53
QUARTERLY OPERATING REPORT -                                                                    ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

  Bank Account Information

                                                                              Account              Account
                                                                                 1                    2
  Name of Bank:                                                            Bank of America     Bank of America

  Account Number:                                                           XXXXXX4859          XXXXXXX5308


                                                                                               BCBG Accounts
                                                                           Estate Runway
  Purpose of Account (Operating/Payroll/Tax)                                                  Payable - Controlled
                                                                              Account
                                                                                                Disbursements


  Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                            $2,196,428.50         $97,999.52
  Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             54
QUARTERLY OPERATING REPORT -                                                                    ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
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  Bank Account Information

                                                                               Account             Account
                                                                                  3                   4
  Name of Bank:                                                            Bank of America      Bank of America

  Account Number:                                                           XXXXXXX3453         XXXXXXX3458


                                                                          BCBG Concentration     BCBG Payroll
  Purpose of Account (Operating/Payroll/Tax)
                                                                            Account - BAML         Account



  Type of Account (e.g. checking)                                         Business Checking    Business Checking


                                                                                $0.00            Closed 7/9/18
  Balance per Bank Statement (Closing Balance - 08/25/18)




                                                            55
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                  5                   6
   Name of Bank:                                                            Bank of America     Bank of America

   Account Number:                                                           XXXXXXX3496        XXXXXXX1382


                                                                              BCBG State
   Purpose of Account (Operating/Payroll/Tax)                              Taxes/Payroll Taxes BCBG DACA Account
                                                                                Account


   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                             Closed 7/9/18         $292.72
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             56
QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account             Account
                                                                                   7                   8
   Name of Bank:                                                            Bank of America      Bank of America

   Account Number:                                                           XXXXXXX8105         XXXXXXX1653

                                                                           BCBG Concentration
                                                                               Account -        BCBG Ecommerce
   Purpose of Account (Operating/Payroll/Tax)
                                                                            Ecommerce/Retail       Account
                                                                               Locations

   Type of Account (e.g. checking)                                         Business Checking    Business Checking


                                                                               $10,000.00         Closed 7/9/18
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             57
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                  9                  10
   Name of Bank:                                                            Bank of America     Bank of America

   Account Number:                                                           XXXXXXX3477        XXXXXXX4650


                                                                                                Dedicated GBG
   Purpose of Account (Operating/Payroll/Tax)                              BCBG Rent Account
                                                                                                   Account



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                             Closed 7/9/18        $48,066.74
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             58
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                 11                  12
   Name of Bank:                                                            Bank of America     Bank of America

   Account Number:                                                          XXXXXXX3491         XXXXXXX5322


                                                                                               BCBG Local Taxes
   Purpose of Account (Operating/Payroll/Tax)                              GUC Pool Account
                                                                                                  Account



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                             $900,000.00         $144,288.07
   Balance per Bank Statement (Closing Balance - 08/25/18)




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QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account              Account
                                                                                 13                   14
   Name of Bank:                                                              Wells Fargo            Chase

   Account Number:                                                          XXXXXXX6546          XXXXXXX4354


                                                                              Wells Fargo
                                                                                               Chase Concentration
   Purpose of Account (Operating/Payroll/Tax)                                Concentration
                                                                                                    Account
                                                                               Account


   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                              $97,165.66         Closed 8/15/18
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             60
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                               Account              Account
                                                                                 15                   16
   Name of Bank:                                                                  TD                 PNC

   Account Number:                                                          XXXXXXX2594          XXXXXXX5171


                                                                                               BCBG Prime Outlets
   Purpose of Account (Operating/Payroll/Tax)                              BCBG - Store #415
                                                                                               @ Hagerstown #469



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                              $453,736.23         $131,446.99
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             61
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                               Account              Account
                                                                                 17                   18
   Name of Bank:                                                             First Hawaiian      Bank of Hawaii

   Account Number:                                                          XXXXXXX4970          XXXXXXX1887


                                                                                               BCBG - Stores #406
   Purpose of Account (Operating/Payroll/Tax)                              BCBG - Store #706
                                                                                                    & #777



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                            Closed 8/20/18         $25,694.06
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             62
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                 19                  20
   Name of Bank:                                                               US Bank          Bank of America

   Account Number:                                                          XXXXXXX6593         XXXXXXX3313


                                                                                               BCBG Wholesale
   Purpose of Account (Operating/Payroll/Tax)                              BCBG - Store #514
                                                                                                  Account



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                             Closed 8/7/18           $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             63
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                 21                  22
   Name of Bank:                                                            Bank of America     Bank of America

   Account Number:                                                           XXXXXXX9824        XXXXXXX9800


                                                                           BCBG E-Commerce BCBG E-Commerce
   Purpose of Account (Operating/Payroll/Tax)
                                                                           Account Herve Leger Account



   Type of Account (e.g. checking)                                         Business Checking   Business Checking


                                                                             Closed 7/9/18       Closed 7/9/18
   Balance per Bank Statement (Closing Balance - 08/25/18)




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QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account             Account
                                                                                  23                  24
   Name of Bank:                                                            Bank of America      Bank of America

   Account Number:                                                           XXXXXXX9805          XXXXXXX4636


                                                                           BCBG E-Commerce      BCBG Partnershops
   Purpose of Account (Operating/Payroll/Tax)
                                                                           Account Generation       Account



   Type of Account (e.g. checking)                                         Business Checking    Business Checking


                                                                             Closed 7/9/18            $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             65
QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account               Account
                                                                                 25                    26
   Name of Bank:                                                           Queenstown Bank     First Bank of the Lake

   Account Number:                                                          XXXXXXX1501           XXXXXXX2061


                                                                            BCBG Factory,         BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                             Queenstown            Osage Beach


                                                                                                Business Analysis
   Type of Account (e.g. checking)                                         Business Checking
                                                                                                Checking Account


                                                                            Closed 7/31/18             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             66
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                 27                  28
   Name of Bank:                                                               Berkshire        Bank of America

   Account Number:                                                           XXXXXXX4191        XXXXXXX8760


                                                                             BCBG Factory,       Max Azria, W
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Manchester          Broadway



   Type of Account (e.g. checking)                                         Corporate Checking        ZBA


                                                                             Closed 8/21/18         $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             67
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                              Account           Account
                                                                                29                30
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX4588       XXXXXXX7008


                                                                           BCBG Factory,     BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                             Orlando         Orlando Prime



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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QUARTERLY OPERATING REPORT -                                                                    ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                               Account            Account
                                                                                 31                 32
   Name of Bank:                                                            Bank of America    Bank of America

   Account Number:                                                          XXXXXXX7617        XXXXXXX1683


                                                                           BCBG Factory, Las   BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Americas         Sawgrass Mills



   Type of Account (e.g. checking)                                               ZBA                ZBA


                                                                                 $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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QUARTERLY OPERATING REPORT -                                                                    ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account            Account
                                                                                 33                 34
   Name of Bank:                                                            Bank of America    Bank of America

   Account Number:                                                          XXXXXXX0609        XXXXXXX2266


                                                                           BCBG Factory, Las
   Purpose of Account (Operating/Payroll/Tax)                                                     Livermore
                                                                            Vegas Premium



   Type of Account (e.g. checking)                                               ZBA                ZBA


                                                                                 $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account            Account
                                                                                 35                 36
   Name of Bank:                                                            Bank of America    Bank of America

   Account Number:                                                           XXXXXXX4682       XXXXXXX4781


                                                                                               BCBG, King of
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Westchester
                                                                                                 Prussia



   Type of Account (e.g. checking)                                               ZBA                ZBA


                                                                                 $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account           Account
                                                                                37                38
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX9116       XXXXXXX5595


                                                                           BCBG, Fashion      BCBG, Dallas
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Island            Galleria



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                                Account            Account
                                                                                  39                 40
   Name of Bank:                                                             Bank of America    Bank of America

   Account Number:                                                           XXXXXXX4804        XXXXXXX9872



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Lenox Square   BCBG, Somerset



   Type of Account (e.g. checking)                                                ZBA                ZBA


                                                                                 $0.00              $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                              Account            Account
                                                                                41                 42
   Name of Bank:                                                           Bank of America    Bank of America

   Account Number:                                                          XXXXXXX4809       XXXXXXX4866



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Roosevelt   BCBG, Boca Raton



   Type of Account (e.g. checking)                                              ZBA                ZBA


                                                                                $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                              Account           Account
                                                                                43                44
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX4903       XXXXXXX2950


                                                                            BCBG, Mall at    BCBG, Sherman
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Millenia           Oaks



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                               Account            Account
                                                                                 45                 46
   Name of Bank:                                                            Bank of America    Bank of America

   Account Number:                                                           XXXXXXX4922       XXXXXXX3326


                                                                                               BCBG, Topanga
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, South Beach
                                                                                                  Plaza



   Type of Account (e.g. checking)                                               ZBA                ZBA


                                                                                 $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                              Account           Account
                                                                                47                48
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX1954        XXXXXXX9387


                                                                                             BCBG, Pembroke
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Aventura
                                                                                                Gardens



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   BANK ACCOUNT RECONCILIATIONS
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   Bank Account Information

                                                                                Account              Account
                                                                                  49                   50
   Name of Bank:                                                             Bank of America      Bank of America

   Account Number:                                                           XXXXXXX2228          XXXXXXX6868


                                                                           BCBG, 5th Avenue at
   Purpose of Account (Operating/Payroll/Tax)                                                    BCBG, Menlo Park
                                                                                  40th



   Type of Account (e.g. checking)                                                ZBA                  ZBA


                                                                                  $0.00               $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account            Account
                                                                                  51                 52
   Name of Bank:                                                            Bank of America     Bank of America

   Account Number:                                                           XXXXXXX8462        XXXXXXX1677



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Forum Shops BCBG, La Plaza Mall



   Type of Account (e.g. checking)                                                ZBA                ZBA


                                                                                 $0.00              $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             79
QUARTERLY OPERATING REPORT -                                                                       ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account              Account
                                                                                  53                   54
   Name of Bank:                                                            Bank of America       Bank of America

   Account Number:                                                           XXXXXXX1218           XXXXXXX4754


                                                                           BCBG, International
   Purpose of Account (Operating/Payroll/Tax)                                                    BCBG, Twelve Oaks
                                                                                Plaza



   Type of Account (e.g. checking)                                                ZBA                  ZBA


                                                                                 $0.00                 $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             80
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account           Account
                                                                                55                56
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX6903       XXXXXXX4606


                                                                           BCBG, Beverly     BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Center          Dolphin Mall



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             81
QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account             Account
                                                                                  57                  58
   Name of Bank:                                                             Bank of America     Bank of America

   Account Number:                                                           XXXXXXX2401          XXXXXXX0796


                                                                           BCBG Factory, Great
   Purpose of Account (Operating/Payroll/Tax)                                                    BCBG, Las Vegas
                                                                              Lakes Mall



   Type of Account (e.g. checking)                                                ZBA                 ZBA


                                                                                  $0.00               $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             82
QUARTERLY OPERATING REPORT -                                                                   ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account           Account
                                                                                 59                60
   Name of Bank:                                                            Bank of America   Bank of America

   Account Number:                                                          XXXXXXX4729       XXXXXXX4842


                                                                                              BCBG, Tyson's
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Georgetown
                                                                                                Galleria



   Type of Account (e.g. checking)                                               ZBA               ZBA


                                                                                $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             83
QUARTERLY OPERATING REPORT -                                                                   ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account            Account
                                                                                61                 62
   Name of Bank:                                                           Bank of America    Bank of America

   Account Number:                                                          XXXXXXX9946       XXXXXXX4946


                                                                                             BCBG, Shops at La
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Waterside
                                                                                                 Cantera



   Type of Account (e.g. checking)                                              ZBA                ZBA


                                                                                $0.00              $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             84
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account           Account
                                                                                63                64
   Name of Bank:                                                           Bank of America   Bank of America

   Account Number:                                                         XXXXXXX4984       XXXXXXX3997


                                                                                             BCBG, Oakbrook
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Flatiron
                                                                                                Center



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             85
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account              Account
                                                                                 65                   66
   Name of Bank:                                                           Bank of America      Bank of America

   Account Number:                                                          XXXXXXX9774          XXXXXXX9927


                                                                                               BCBG, Americana at
   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Cherry Hill
                                                                                                     Brand



   Type of Account (e.g. checking)                                               ZBA                  ZBA


                                                                                $0.00                $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             86
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account             Account
                                                                                  67                  68
   Name of Bank:                                                             Bank of America    Bank of America

   Account Number:                                                           XXXXXXX0142         XXXXXXX0147


                                                                           BCBG, Santa Monica
   Purpose of Account (Operating/Payroll/Tax)                                                   BCBG, Short Hills
                                                                                 Place



   Type of Account (e.g. checking)                                                ZBA                 ZBA


                                                                                 $0.00               $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             87
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account            Account
                                                                                  69                 70
   Name of Bank:                                                                 Chase              Chase

   Account Number:                                                           XXXXXXX5362        XXXXXXX6048



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Perkins Rowe BCBG, Cherry Creek



   Type of Account (e.g. checking)                                                ZBA                ZBA


                                                                             Closed 8/15/18     Closed 8/15/18
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             88
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                             Account         Account
                                                                               71              72
   Name of Bank:                                                            Wells Fargo     Wells Fargo

   Account Number:                                                         XXXXXXX0300     XXXXXXX0359


                                                                           BCBG Factory,   BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Citadel        Carlsbad



   Type of Account (e.g. checking)                                             ZBA             ZBA


                                                                               $0.00           $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             89
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account             Account
                                                                                 73                  74
   Name of Bank:                                                              Wells Fargo         Wells Fargo

   Account Number:                                                           XXXXXXX0466         XXXXXXX0565


                                                                           BCBG Factory, Park
   Purpose of Account (Operating/Payroll/Tax)                                                 BCBG, San Francisco
                                                                                 City



   Type of Account (e.g. checking)                                               ZBA                 ZBA


                                                                                 $0.00               $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             90
QUARTERLY OPERATING REPORT -                                                                     ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                                Account            Account
                                                                                  75                 76
   Name of Bank:                                                              Wells Fargo        Wells Fargo

   Account Number:                                                           XXXXXXX0599        XXXXXXX0714



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Sunset Plaza   BCBG, Venetian



   Type of Account (e.g. checking)                                                ZBA                ZBA


                                                                                 $0.00              $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             91
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account            Account
                                                                                77                 78
   Name of Bank:                                                             Wells Fargo       Wells Fargo

   Account Number:                                                          XXXXXXX0748       XXXXXXX0763


                                                                             BCBG, Desert    BCBG, Scottsdale
   Purpose of Account (Operating/Payroll/Tax)
                                                                           Passage@Aladdin    Fashion Square



   Type of Account (e.g. checking)                                              ZBA                ZBA


                                                                                $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             92
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                             Account            Account
                                                                               79                 80
   Name of Bank:                                                           Bank of Hawaii     Bank of Hawaii

   Account Number:                                                         XXXXXXX3651       XXXXXXX0640


                                                                           BCBG Factory,    BCBG International
   Purpose of Account (Operating/Payroll/Tax)
                                                                             Waikele          Market Place



   Type of Account (e.g. checking)                                             ZBA                ZBA


                                                                               $0.00              $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             93
QUARTERLY OPERATING REPORT -                                                                    ATTACHMENT NO. 3
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   CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account            Account
                                                                                 81                 82
   Name of Bank:                                                                Chase              Chase

   Account Number:                                                           XXXXXXX5347       XXXXXXX5297



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Canal Place   BCBG, Keystone



   Type of Account (e.g. checking)                                               ZBA                ZBA


                                                                            Closed 8/15/18     Closed 8/15/18
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             94
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                             Account         Account
                                                                               83              84
   Name of Bank:                                                            Wells Fargo     Wells Fargo

   Account Number:                                                         XXXXXXX0318     XXXXXXX0334


                                                                           BCBG Factory,   BCBG Factory,
   Purpose of Account (Operating/Payroll/Tax)
                                                                             Cabazon         Camarillo



   Type of Account (e.g. checking)                                             ZBA             ZBA


                                                                               $0.00           $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             95
QUARTERLY OPERATING REPORT -                                                                      ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                               Account              Account
                                                                                 85                   86
   Name of Bank:                                                              Wells Fargo         Wells Fargo

   Account Number:                                                           XXXXXXX0342         XXXXXXX0375


                                                                           BCBG Factory, San   BCBG Factory, Allen
   Purpose of Account (Operating/Payroll/Tax)
                                                                               Marcos              Premium



   Type of Account (e.g. checking)                                               ZBA                  ZBA


                                                                                 $0.00               $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             96
QUARTERLY OPERATING REPORT -                                                               ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                             Account         Account
                                                                               87              88
   Name of Bank:                                                            Wells Fargo     Wells Fargo

   Account Number:                                                         XXXXXXX0656     XXXXXXX0664


                                                                           BCBG, Fashion   BCBG, Houston
   Purpose of Account (Operating/Payroll/Tax)
                                                                              Valley          Galleria



   Type of Account (e.g. checking)                                             ZBA             ZBA


                                                                               $0.00           $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             97
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account           Account
                                                                                89                90
   Name of Bank:                                                            Wells Fargo        Wells Fargo

   Account Number:                                                         XXXXXXX0789       XXXXXXX0862



   Purpose of Account (Operating/Payroll/Tax)                              BCBG, Stanford   BCBG, The Domain



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             98
QUARTERLY OPERATING REPORT -                                                                  ATTACHMENT NO. 3
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   BANK ACCOUNT RECONCILIATIONS
   AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

   Bank Account Information

                                                                              Account           Account
                                                                                91                92
   Name of Bank:                                                            Wells Fargo        Wells Fargo

   Account Number:                                                         XXXXXXX0870        XXXXXXX0888


                                                                           BCBG, Plaza El
   Purpose of Account (Operating/Payroll/Tax)                                               BCBG, ABQ Uptown
                                                                             Segundo



   Type of Account (e.g. checking)                                              ZBA               ZBA


                                                                               $0.00             $0.00
   Balance per Bank Statement (Closing Balance - 08/25/18)




                                                             99
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BANK ACCOUNT RECONCILIATIONS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Bank Account Information
                                                                                      Account                Account
                                                                                         1                      2

Name of Bank:                                                                     Bank of America        Bank of America

Account Number:                                                                     XXXXXX4859            XXXXXXX5308

                                                                                                         BCBG Accounts
Purpose of Account (Operating/Payroll/Tax)                                      Estate Runway Account   Payable - Controlled
                                                                                                          Disbursements


Type of Account (e.g. checking)                                                   Business Checking     Business Checking


Balance per Bank Statement (Closing Balance - 09/29/18)                             $1,430,879.97         Closed 9/17/18




                                                          100
QUARTERLY OPERATING REPORT -                                                                           ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                       Account             Account
                                                                                          3                   4

  Name of Bank:                                                                    Bank of America     Bank of America

  Account Number:                                                                   XXXXXXX3453         XXXXXXX3458


                                                                                  BCBG Concentration     BCBG Payroll
  Purpose of Account (Operating/Payroll/Tax)
                                                                                    Account - BAML         Account


  Type of Account (e.g. checking)                                                 Business Checking    Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                            $286,280.04         Closed 7/9/18




                                                            101
QUARTERLY OPERATING REPORT -                                                                          ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account             Account
                                                                                         5                   6

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX3496        XXXXXXX1382

                                                                                     BCBG State
  Purpose of Account (Operating/Payroll/Tax)                                      Taxes/Payroll Taxes BCBG DACA Account
                                                                                       Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 7/9/18      Closed 9/17/18




                                                            102
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                       Account             Account
                                                                                          7                   8

  Name of Bank:                                                                    Bank of America     Bank of America

  Account Number:                                                                   XXXXXXX8105         XXXXXXX1653

                                                                                  BCBG Concentration
                                                                                      Account -        BCBG Ecommerce
  Purpose of Account (Operating/Payroll/Tax)
                                                                                   Ecommerce/Retail       Account
                                                                                      Locations

  Type of Account (e.g. checking)                                                 Business Checking    Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 9/17/18       Closed 7/9/18




                                                            103
QUARTERLY OPERATING REPORT -                                                                          ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account             Account
                                                                                         9                  10

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX3477        XXXXXXX4650


                                                                                                       Dedicated GBG
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG Rent Account
                                                                                                          Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 7/9/18         $637.91




                                                            104
QUARTERLY OPERATING REPORT -                                                                          ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account             Account
                                                                                        11                  12

  Name of Bank:                                                                   Bank of America     Bank of America

  Account Number:                                                                  XXXXXXX3491         XXXXXXX5322


                                                                                                      BCBG Local Taxes
  Purpose of Account (Operating/Payroll/Tax)                                      GUC Pool Account
                                                                                                         Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           $900,000.00        Closed 9/17/18




                                                            105
QUARTERLY OPERATING REPORT -                                                                           ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account              Account
                                                                                        13                   14

  Name of Bank:                                                                     Wells Fargo             Chase

  Account Number:                                                                  XXXXXXX6546          XXXXXXX4354

                                                                                     Wells Fargo
                                                                                                      Chase Concentration
  Purpose of Account (Operating/Payroll/Tax)                                        Concentration
                                                                                                           Account
                                                                                      Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                            $93,403.88         Closed 8/15/18




                                                            106
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account              Account
                                                                                        15                   16

  Name of Bank:                                                                          TD                 PNC

  Account Number:                                                                  XXXXXXX2594          XXXXXXX5171


                                                                                                      BCBG Prime Outlets
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG - Store #415
                                                                                                      @ Hagerstown #469


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                            $453,377.69         $131,962.42




                                                            107
QUARTERLY OPERATING REPORT -                                                                           ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
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  Bank Account Information
                                                                                      Account              Account
                                                                                        17                   18

  Name of Bank:                                                                    First Hawaiian      Bank of Hawaii

  Account Number:                                                                  XXXXXXX4970          XXXXXXX1887


                                                                                                      BCBG - Stores #406
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG - Store #706
                                                                                                           & #777


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/20/18         $25,306.56




                                                            108
QUARTERLY OPERATING REPORT -                                                                          ATTACHMENT NO. 3
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account             Account
                                                                                        19                  20

  Name of Bank:                                                                       US Bank         Bank of America

  Account Number:                                                                  XXXXXXX6593         XXXXXXX3313


                                                                                                      BCBG Wholesale
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG - Store #514
                                                                                                         Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/7/18      Closed 9/17/18




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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account             Account
                                                                                        21                  22

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX9824        XXXXXXX9800


                                                                                  BCBG E-Commerce BCBG E-Commerce
  Purpose of Account (Operating/Payroll/Tax)
                                                                                  Account Herve Leger Account


  Type of Account (e.g. checking)                                                 Business Checking   Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 7/9/18       Closed 7/9/18




                                                            110
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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                       Account             Account
                                                                                         23                  24

  Name of Bank:                                                                    Bank of America      Bank of America

  Account Number:                                                                   XXXXXXX9805          XXXXXXX4636


                                                                                  BCBG E-Commerce      BCBG Partnershops
  Purpose of Account (Operating/Payroll/Tax)
                                                                                  Account Generation       Account


  Type of Account (e.g. checking)                                                 Business Checking    Business Checking


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 7/9/18        Closed 9/17/18




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  BANK ACCOUNT RECONCILIATIONS
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  Bank Account Information
                                                                                      Account             Account
                                                                                        25                  26
                                                                                                      First Bank of the
  Name of Bank:                                                                   Queenstown Bank
                                                                                                            Lake

  Account Number:                                                                  XXXXXXX1501         XXXXXXX2061


                                                                                   BCBG Factory,       BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                    Queenstown          Osage Beach


                                                                                                      Business Analysis
  Type of Account (e.g. checking)                                                 Business Checking
                                                                                                      Checking Account

  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 7/31/18      Closed 8/28/18




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  Bank Account Information
                                                                                      Account             Account
                                                                                        27                  28

  Name of Bank:                                                                       Berkshire        Bank of America

  Account Number:                                                                   XXXXXXX4191         XXXXXXX8760


                                                                                    BCBG Factory,       Max Azria, W
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Manchester          Broadway


  Type of Account (e.g. checking)                                                 Corporate Checking         ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/21/18      Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       29                30

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX4588       XXXXXXX7008


                                                                                   BCBG Factory,     BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Orlando         Orlando Prime


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  BANK ACCOUNT RECONCILIATIONS
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  Bank Account Information
                                                                                      Account            Account
                                                                                        31                 32

  Name of Bank:                                                                   Bank of America     Bank of America

  Account Number:                                                                  XXXXXXX7617         XXXXXXX1683


                                                                                  BCBG Factory, Las    BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Americas          Sawgrass Mills


  Type of Account (e.g. checking)                                                       ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18      Closed 8/28/18




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  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account            Account
                                                                                        33                 34

  Name of Bank:                                                                   Bank of America     Bank of America

  Account Number:                                                                  XXXXXXX0609         XXXXXXX2266


                                                                                  BCBG Factory, Las
  Purpose of Account (Operating/Payroll/Tax)                                                             Livermore
                                                                                   Vegas Premium


  Type of Account (e.g. checking)                                                       ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18      Closed 8/28/18




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  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                      Account            Account
                                                                                        35                 36

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX4682        XXXXXXX4781


                                                                                                       BCBG, King of
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Westchester
                                                                                                         Prussia


  Type of Account (e.g. checking)                                                       ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18     Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       37                38

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX9116       XXXXXXX5595


                                                                                  BCBG, Fashion      BCBG, Dallas
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Island            Galleria


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                       Account            Account
                                                                                         39                 40

  Name of Bank:                                                                    Bank of America     Bank of America

  Account Number:                                                                   XXXXXXX4804         XXXXXXX9872



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Lenox Square   BCBG, Somerset



  Type of Account (e.g. checking)                                                        ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18      Closed 8/28/18




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  Bank Account Information
                                                                                     Account            Account
                                                                                       41                 42

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX4809       XXXXXXX4866



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Roosevelt   BCBG, Boca Raton



  Type of Account (e.g. checking)                                                      ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       43                44

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX4903       XXXXXXX2950


                                                                                   BCBG, Mall at    BCBG, Sherman
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Millenia           Oaks


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                      Account            Account
                                                                                        45                 46

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX4922        XXXXXXX3326


                                                                                                      BCBG, Topanga
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, South Beach
                                                                                                         Plaza


  Type of Account (e.g. checking)                                                       ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18     Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       47                48

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX1954       XXXXXXX9387


                                                                                                    BCBG, Pembroke
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Aventura
                                                                                                       Gardens


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                       Account              Account
                                                                                         49                   50

  Name of Bank:                                                                    Bank of America      Bank of America

  Account Number:                                                                   XXXXXXX2228          XXXXXXX6868


                                                                                  BCBG, 5th Avenue at
  Purpose of Account (Operating/Payroll/Tax)                                                            BCBG, Menlo Park
                                                                                         40th


  Type of Account (e.g. checking)                                                        ZBA                  ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18       Closed 8/28/18




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  Bank Account Information
                                                                                       Account            Account
                                                                                         51                 52

  Name of Bank:                                                                    Bank of America    Bank of America

  Account Number:                                                                   XXXXXXX8462        XXXXXXX1677



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Forum Shops BCBG, La Plaza Mall



  Type of Account (e.g. checking)                                                        ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18     Closed 8/28/18




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  Bank Account Information
                                                                                       Account              Account
                                                                                         53                   54

  Name of Bank:                                                                    Bank of America       Bank of America

  Account Number:                                                                   XXXXXXX1218           XXXXXXX4754


                                                                                  BCBG, International
  Purpose of Account (Operating/Payroll/Tax)                                                            BCBG, Twelve Oaks
                                                                                       Plaza


  Type of Account (e.g. checking)                                                        ZBA                  ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18        Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       55                56

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX6903       XXXXXXX4606


                                                                                   BCBG, Beverly     BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                      Center          Dolphin Mall


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                       Account             Account
                                                                                         57                  58

  Name of Bank:                                                                    Bank of America      Bank of America

  Account Number:                                                                   XXXXXXX2401          XXXXXXX0796


                                                                                  BCBG Factory, Great
  Purpose of Account (Operating/Payroll/Tax)                                                            BCBG, Las Vegas
                                                                                     Lakes Mall


  Type of Account (e.g. checking)                                                        ZBA                 ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18       Closed 8/28/18




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  Bank Account Information
                                                                                      Account           Account
                                                                                        59                60

  Name of Bank:                                                                   Bank of America    Bank of America

  Account Number:                                                                  XXXXXXX4729        XXXXXXX4842


                                                                                                     BCBG, Tyson's
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Georgetown
                                                                                                       Galleria


  Type of Account (e.g. checking)                                                       ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18     Closed 8/28/18




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  Bank Account Information
                                                                                     Account            Account
                                                                                       61                 62

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX9946        XXXXXXX4946


                                                                                                    BCBG, Shops at La
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Waterside
                                                                                                        Cantera


  Type of Account (e.g. checking)                                                      ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                     Account           Account
                                                                                       63                64

  Name of Bank:                                                                   Bank of America   Bank of America

  Account Number:                                                                  XXXXXXX4984       XXXXXXX3997


                                                                                                    BCBG, Oakbrook
  Purpose of Account (Operating/Payroll/Tax)                                       BCBG, Flatiron
                                                                                                       Center


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18    Closed 8/28/18




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  Bank Account Information
                                                                                      Account              Account
                                                                                        65                   66

  Name of Bank:                                                                   Bank of America      Bank of America

  Account Number:                                                                  XXXXXXX9774          XXXXXXX9927


                                                                                                      BCBG, Americana at
  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Cherry Hill
                                                                                                            Brand


  Type of Account (e.g. checking)                                                       ZBA                  ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/28/18       Closed 8/28/18




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  Bank Account Information
                                                                                       Account             Account
                                                                                         67                  68

  Name of Bank:                                                                    Bank of America     Bank of America

  Account Number:                                                                   XXXXXXX0142         XXXXXXX0147


                                                                                  BCBG, Santa Monica
  Purpose of Account (Operating/Payroll/Tax)                                                           BCBG, Short Hills
                                                                                        Place


  Type of Account (e.g. checking)                                                        ZBA                 ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/28/18      Closed 8/28/18




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  Bank Account Information
                                                                                       Account            Account
                                                                                         69                 70

  Name of Bank:                                                                         Chase              Chase

  Account Number:                                                                   XXXXXXX5362        XXXXXXX6048



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Perkins Rowe BCBG, Cherry Creek



  Type of Account (e.g. checking)                                                        ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                           Closed 8/15/18     Closed 8/15/18




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  Bank Account Information
                                                                                    Account         Account
                                                                                      71              72

  Name of Bank:                                                                   Wells Fargo      Wells Fargo

  Account Number:                                                                 XXXXXXX0300     XXXXXXX0359


                                                                                  BCBG Factory,   BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Citadel        Carlsbad


  Type of Account (e.g. checking)                                                     ZBA             ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00           $0.00




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  Bank Account Information
                                                                                      Account             Account
                                                                                        73                  74

  Name of Bank:                                                                      Wells Fargo        Wells Fargo

  Account Number:                                                                   XXXXXXX0466         XXXXXXX0565


                                                                                  BCBG Factory, Park
  Purpose of Account (Operating/Payroll/Tax)                                                         BCBG, San Francisco
                                                                                        City


  Type of Account (e.g. checking)                                                       ZBA                 ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                               $0.00               $0.00




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  Bank Account Information
                                                                                       Account            Account
                                                                                         75                 76

  Name of Bank:                                                                      Wells Fargo        Wells Fargo

  Account Number:                                                                   XXXXXXX0599        XXXXXXX0714



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Sunset Plaza   BCBG, Venetian



  Type of Account (e.g. checking)                                                        ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                               $0.00              $0.00




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  Bank Account Information
                                                                                     Account            Account
                                                                                       77                 78

  Name of Bank:                                                                     Wells Fargo       Wells Fargo

  Account Number:                                                                  XXXXXXX0748       XXXXXXX0763


                                                                                    BCBG, Desert    BCBG, Scottsdale
  Purpose of Account (Operating/Payroll/Tax)
                                                                                  Passage@Aladdin    Fashion Square


  Type of Account (e.g. checking)                                                      ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                              $0.00             $0.00




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  Bank Account Information
                                                                                     Account           Account
                                                                                       79                80

  Name of Bank:                                                                   Bank of Hawaii    Bank of Hawaii

  Account Number:                                                                 XXXXXXX3651       XXXXXXX0640


                                                                                  BCBG Factory,    BCBG International
  Purpose of Account (Operating/Payroll/Tax)
                                                                                    Waikele          Market Place


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00              $0.00




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  Bank Account Information
                                                                                      Account            Account
                                                                                        81                 82

  Name of Bank:                                                                        Chase              Chase

  Account Number:                                                                   XXXXXXX5347       XXXXXXX5297



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Canal Place   BCBG, Keystone



  Type of Account (e.g. checking)                                                       ZBA                ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                          Closed 8/15/18     Closed 8/15/18




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  Bank Account Information
                                                                                    Account         Account
                                                                                      83              84

  Name of Bank:                                                                   Wells Fargo      Wells Fargo

  Account Number:                                                                 XXXXXXX0318     XXXXXXX0334


                                                                                  BCBG Factory,   BCBG Factory,
  Purpose of Account (Operating/Payroll/Tax)
                                                                                    Cabazon         Camarillo


  Type of Account (e.g. checking)                                                     ZBA             ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00           $0.00




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  Bank Account Information
                                                                                      Account              Account
                                                                                        85                   86

  Name of Bank:                                                                     Wells Fargo          Wells Fargo

  Account Number:                                                                   XXXXXXX0342         XXXXXXX0375


                                                                                  BCBG Factory, San   BCBG Factory, Allen
  Purpose of Account (Operating/Payroll/Tax)
                                                                                      Marcos              Premium


  Type of Account (e.g. checking)                                                       ZBA                  ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                               $0.00               $0.00




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  Bank Account Information
                                                                                    Account         Account
                                                                                      87              88

  Name of Bank:                                                                    Wells Fargo     Wells Fargo

  Account Number:                                                                 XXXXXXX0656     XXXXXXX0664


                                                                                  BCBG, Fashion   BCBG, Houston
  Purpose of Account (Operating/Payroll/Tax)
                                                                                     Valley          Galleria


  Type of Account (e.g. checking)                                                     ZBA             ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00           $0.00




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QUARTERLY OPERATING REPORT -                                                                        ATTACHMENT NO. 3
POST CONFIRMATION



  CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                     Account           Account
                                                                                       89                90

  Name of Bank:                                                                    Wells Fargo       Wells Fargo

  Account Number:                                                                 XXXXXXX0789       XXXXXXX0862



  Purpose of Account (Operating/Payroll/Tax)                                      BCBG, Stanford   BCBG, The Domain



  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00             $0.00




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QUARTERLY OPERATING REPORT -                                                                        ATTACHMENT NO. 3
POST CONFIRMATION



  CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
  BANK ACCOUNT RECONCILIATIONS
  SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

  Bank Account Information
                                                                                     Account           Account
                                                                                       91                92

  Name of Bank:                                                                    Wells Fargo        Wells Fargo

  Account Number:                                                                 XXXXXXX0870        XXXXXXX0888


                                                                                  BCBG, Plaza El
  Purpose of Account (Operating/Payroll/Tax)                                                       BCBG, ABQ Uptown
                                                                                    Segundo


  Type of Account (e.g. checking)                                                      ZBA               ZBA


  Balance per Bank Statement (Closing Balance - 09/29/18)                             $0.00              $0.00




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QUARTERLY OPERATING REPORT -
POST CONFIRMATION

CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                             Bank of America
Account Number                                                           XXXXXX4859
Purpose of Account (Operating/Payroll/Personal)                          Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                         Checking

    Check          Date of
   Number        Transaction                      Payee                             Purpose or Description                 Amount
      183         07/05/18     CT Corporation                            Contractors                                   $       360.00
 Wire Transfer    07/06/18     Lockton Insurance Brokers, LLC            Business Insurance                                 84,366.00
     189          07/03/18     Correa Acevedo                            Legal                                                 661.74
     186          07/03/18     Donlin, Recano & Company, Inc.            Corporate                                          15,478.82
 Wire Transfer    07/02/18     Zolfo Cooper LLC                          Corporate                                         365,118.83
 Wire Transfer    07/06/18     E-Cycle Environmental Inc.                Capex                                              23,951.62
 Wire Transfer    07/06/18     E-Cycle Environmental Inc.                Capex                                              76,048.38
 Wire Transfer    07/09/18     Anthem Blue Cross Life                    Health Insurance                                   14,975.29
 Wire Transfer    07/13/18     Iron Mountain Records Mgt Inc             Corporate It                                       19,949.58
     184          07/12/18     Duval County Tax Collector                Taxes & Licenses                                    1,833.22
 Wire Transfer    07/13/18     2761 Fruitland Avenue LLC                 Rents                                              39,682.08
 Wire Transfer    07/13/18     E-Cycle Environmental Inc.                Capex                                             107,094.51
 Wire Transfer    07/13/18     E-Cycle Environmental Inc.                Capex                                              30,976.12
 Wire Transfer    07/13/18     Haul-Away Rubbish Service Co.             Utilities                                           3,443.66
 Wire Transfer    07/09/18     Santa Fe LLC                              Rents                                              91,635.00
     188          07/10/18     Iron Mountain Records Mgt Inc             Corporate It                                        2,282.80
     195          07/18/18     ADP, LLC                                  Payroll Taxes                                          65.09
 Wire Transfer    07/16/18     June Account Analysis Fee                 Corporate                                             472.52
     190          07/19/18     Jesus Ponce                               Corporate                                           1,000.00
     196          07/18/18     BM Electric                               Capex                                                 712.50
     197          07/18/18     Cube Designs                              Corporate                                           8,220.00
     198          07/20/18     Secure Tech                               Corporate                                             720.00
     194          07/26/18     Harrison County Mississippi               Taxes & Licenses                                    7,623.04
 Wire Transfer    07/27/18     Sesame Avocats Aarp                       Corporate                                          11,531.36
 Wire Transfer    07/27/18     Immediate Disaster Solutions Inc.         Corporate                                          10,000.00
 Wire Transfer    07/27/18     Santa Fe LLC                              Rents                                              11,000.00
 Wire Transfer    07/27/18     Sharp Tech Electric                       Utilities                                           1,600.00
                                                                         TOTAL                                         $   930,802.16




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QUARTERLY OPERATING REPORT -
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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                             Bank of America
Account Number                                                           XXXXXX4859
Purpose of Account (Operating/Payroll/Personal)                          Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                         Checking

    Check          Date of
   Number        Transaction                      Payee                              Purpose or Description                Amount
     201          07/30/18     Recycle Today                             Corporate                                     $     8,829.00
     202          07/30/18     Judicate West                             Legal                                                 875.00
     200          07/31/18     US Trustee                                Corporate                                          13,096.56
 Wire Transfer    08/06/18     Zolfo Cooper LLC                          Corporate                                         389,264.81
 Wire Transfer    08/06/18     Immediate Disaster Solutions Inc.         Corporate                                          17,829.75
 Wire Transfer    08/06/18     Sharp Tech Electric                       Utilities                                           2,284.00
 Wire Transfer    08/06/18     Sharp Tech Electric                       Utilities                                           1,100.00
 Wire Transfer    08/06/18     Citco Nederland B.V. Naritaweg            Corporate                                           4,502.33
     199          08/07/18     Secure Tech                               Corporate                                           3,660.00
     214          08/08/18     Anna Martirosyan                          Legal                                              30,000.00
     208          08/08/18     Marcum Llp                                Corporate                                          25,750.00
     209          08/08/18     Pacwest Security Services                 Corporate                                          14,090.79
     212          08/08/18     Haul-Away Rubbish Service Co.             Utilities                                           2,923.80
     207          08/09/18     Lewis Brisbois Bisgaard & Smit            Corporate                                           9,700.00
     211          08/09/18     Williams Data Management                  Corporate                                             764.20
     209          08/09/18     Pacwest Security Services                 Corporate                                         (14,090.79)
     212          08/09/18     Haul-Away Rubbish Service Co.             Utilities                                          (2,923.80)
     213          08/10/18     Sabre Glbl Inc                            Corporate                                             154.92
 Wire Transfer    08/10/18     Pacwest Security Services                 Corporate                                          14,090.79
 Wire Transfer    08/10/18     Haul-Away Rubbish Service Co.             Utilities                                           1,990.44
 Wire Transfer    08/10/18     Haul-Away Rubbish Service Co.             Utilities                                             933.36
     203          08/13/18     Cherry Hill Center Llc, Cherry            Rents                                               7,466.52
     204          08/13/18     Claire Carre                              Payroll                                             4,000.00
     215          08/13/18     Secure Tech                               Corporate                                           3,477.89
     205          08/13/18     Correa Acevedo                            Legal                                                 150.00
     215          08/14/18     Secure Tech                               Corporate                                          (3,477.89)
 Wire Transfer    08/15/18     July Account Analysis Fee                 Corporate                                             541.00
 Wire Transfer    08/20/18     Immediate Disaster Solutions Inc.         Corporate                                          11,536.21
     215          08/21/18     Secure Tech                               Corporate                                           3,477.89
 Wire Transfer    08/21/18     Secure Tech                               Corporate                                           9,016.64
                                                                         TOTAL                                         $   561,013.42




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                            Bank of America
Account Number                                                          XXXXXX4859
Purpose of Account (Operating/Payroll/Personal)                         Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                        Checking

    Check          Date of
   Number        Transaction                      Payee                            Purpose or Description                 Amount
 Wire Transfer    09/05/18     Sesame Avocats Aarp                      Corporate                                     $     1,355.00
     218          09/06/18     Iron Mountain Records Mgt Inc            Corporate It                                       17,378.61
     222          09/07/18     Sheppard Mullin Richter & Hamp           Corporate                                          31,950.92
     221          09/07/18     Pacwest Security Services                Corporate                                           9,182.88
     219          09/07/18     Marcum Llp                               Corporate                                           4,001.55
     220          09/10/18     Pachulski Stang Ziehl & Jones            Corporate                                         401,473.99
     223          09/10/18     Williams Data Management                 Corporate                                             227.03
 Wire Transfer    09/10/18     Zolfo Cooper Llc                         Corporate                                         445,525.57
     226          09/11/18     Menehune Water Company                   Utilities                                              15.55
 Wire Transfer    09/11/18     Orrick Herrington & Sutcliffe            Corporate                                          20,000.00
     231          09/12/18     Marcum Llp                               Corporate                                          36,050.00
     229          09/12/18     Haul-Away Rubbish Service Co.            Utilities                                           2,424.80
     230          09/13/18     Lewis Brisbois Bisgaard & Smit           Corporate                                           5,992.50
     232          09/13/18     Williams Data Management                 Corporate                                             283.76
     225          09/14/18     Apex Logistics International Inc         Freight                                                75.00
     228          09/17/18     Donlin, Recano & Company, Inc.           Corporate                                           7,779.43
 Wire Transfer    09/17/18     August Account Analysis Fee              Corporate                                             503.06
     216          09/19/18     1450 Broadway Llc                        Utilities                                          15,229.98
     217          09/25/18     Donlin, Recano & Company, Inc.           Corporate                                          13,372.75
     224          09/26/18     Tyco Simplex Grinnell                    Corporate                                             409.60
     234          09/28/18     Us Bank                                  Corporate                                             322.23
                                                                        TOTAL                                         $ 1,013,554.21




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX5308
Purpose of Account (Operating/Payroll/Personal)                  Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                 Checking

    Check         Date of
   Number       Transaction                       Payee                     Purpose or Description                 Amount
                              No disbursements to report
                                                                 TOTAL                                         $            -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX5308
Purpose of Account (Operating/Payroll/Personal)                  Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                 Checking

    Check         Date of
   Number       Transaction                       Payee                     Purpose or Description                 Amount
                              No disbursements to report
                                                                 TOTAL                                         $            -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX5308
Purpose of Account (Operating/Payroll/Personal)                    Accounts Payable - Controlled Disbursements
Type of Account (e.g., Checking)                                   Checking

    Check           Date of
   Number         Transaction                      Payee                      Purpose or Description                 Amount
                                No disbursements to report
                                                                   TOTAL                                         $            -

*Account Closed 9/17/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX3453
Purpose of Account (Operating/Payroll/Personal)                  BCBG Concentration Account - BAML
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                    Payee                         Purpose or Description       Amount
Wire Transfer    07/16/18     Analysis Charge June               Corporate                            $    6,232.16
                                                                 TOTAL                                $    6,232.16




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                    Bank of America
Account Number                                                  XXXXXX3453
Purpose of Account (Operating/Payroll/Personal)                 BCBG Concentration Account - BAML
Type of Account (e.g., Checking)                                Checking

    Wire           Date of
   Number        Transaction                      Payee                     Purpose or Description       Amount
 Wire Transfer    08/15/18     Analysis Charge July             Corporate                            $     4,552.78
                                                                TOTAL                                $     4,552.78




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CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                    Bank of America
Account Number                                                  XXXXXX3453
Purpose of Account (Operating/Payroll/Personal)                 BCBG Concentration Account - BAML
Type of Account (e.g., Checking)                                Checking

    Wire           Date of
   Number        Transaction                      Payee                     Purpose or Description    Amount
 Wire Transfer    09/17/18     Analysis Charge August           Corporate                            $ 4,676.33
                                                                TOTAL                                $ 4,676.33




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3477
Purpose of Account (Operating/Payroll/Personal)                    BCBG Rent Account
Type of Account (e.g., Checking)                                   Checking

     Check          Date of
    Number        Transaction                     Payee                       Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3477
Purpose of Account (Operating/Payroll/Personal)                    BCBG Rent Account
Type of Account (e.g., Checking)                                   Checking

    Check           Date of
   Number         Transaction                     Payee                       Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -



*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3477
Purpose of Account (Operating/Payroll/Personal)                    BCBG Rent Account
Type of Account (e.g., Checking)                                   Checking

    Check           Date of
   Number         Transaction                     Payee                       Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX4650
Purpose of Account (Operating/Payroll/Personal)                  Dedicated GBG Account
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX4650
Purpose of Account (Operating/Payroll/Personal)                  Dedicated GBG Account
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX4650
Purpose of Account (Operating/Payroll/Personal)                  Dedicated GBG Account
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX1653
Purpose of Account (Operating/Payroll/Personal)                    Dedicated GBG Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX1653
Purpose of Account (Operating/Payroll/Personal)                    Dedicated GBG Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX1653
Purpose of Account (Operating/Payroll/Personal)                    Dedicated GBG Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX1382
Purpose of Account (Operating/Payroll/Personal)                  Dedicated GBG Account
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX1382
Purpose of Account (Operating/Payroll/Personal)                  Dedicated GBG Account
Type of Account (e.g., Checking)                                 Checking

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX1382
Purpose of Account (Operating/Payroll/Personal)                    Dedicated GBG Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                               $        -




*Account Closed 9/17/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3458
Purpose of Account (Operating/Payroll/Personal)                    BCBG Payroll Account
Type of Account (e.g., Checking)                                   Checking

    Check           Date of
   Number         Transaction                     Payee*                     Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                              $        -

*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3458
Purpose of Account (Operating/Payroll/Personal)                    BCBG Payroll Account
Type of Account (e.g., Checking)                                   Checking

    Check           Date of
   Number         Transaction                     Payee*                     Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                              $        -

*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                                         Bank of America
Account Number                                                                       XXXXXX3458
Purpose of Account (Operating/Payroll/Personal)                                      BCBG Payroll Account
Type of Account (e.g., Checking)                                                     Checking

     Check           Date of
    Number         Transaction                          Payee*                                   Purpose or Description                     Amount
                                   No disbursements to report
                                                                                     TOTAL                                              $        -
*Account Closed 7/9/2018
*Note: Employee File Numbers have been provided in the "Payee" field and names have been redacted
Where Employee File Numbers were not available, their association with either the Go-Forward entity or the Terminating/Liquidating Entity has been note




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3496
Purpose of Account (Operating/Payroll/Personal)                    BCBG State Taxes/Payroll Taxes Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description            Amount
                                No disbursements to report
                                                                   TOTAL                                    $        -

*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3496
Purpose of Account (Operating/Payroll/Personal)                    BCBG State Taxes/Payroll Taxes Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description            Amount
                                No disbursements to report
                                                                   TOTAL                                    $        -

*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Bank of America
Account Number                                                     XXXXXX3496
Purpose of Account (Operating/Payroll/Personal)                    BCBG State Taxes/Payroll Taxes Account
Type of Account (e.g., Checking)                                   Checking

    Wire            Date of
   Number         Transaction                      Payee                      Purpose or Description            Amount
                                No disbursements to report
                                                                   TOTAL                                    $        -




*Account Closed 7/9/2018




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CHAPTER 11 POST CONFIRMATION QUARTERLY REPORT
CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                  Bank of America
Account Number                                                XXXXXX3491
Purpose of Account (Operating/Payroll/Personal)               GUC Pool Account
Type of Account (e.g., Checking)                              Business Checking

   Wire        Date of
  Number     Transaction                      Payee                      Purpose or Description       Amount
                           No disbursements to report
                                                              TOTAL                               $        -




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CASH DISBURSEMENT DETAILS
AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                  Bank of America
Account Number                                                XXXXXX3491
Purpose of Account (Operating/Payroll/Personal)               GUC Pool Account
Type of Account (e.g., Checking)                              Business Checking

   Wire        Date of
  Number     Transaction                      Payee                      Purpose or Description       Amount
                           No disbursements to report
                                                              TOTAL                               $        -




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CASH DISBURSEMENT DETAILS
SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                  Bank of America
Account Number                                                XXXXXX3491
Purpose of Account (Operating/Payroll/Personal)               GUC Pool Account
Type of Account (e.g., Checking)                              Business Checking

   Wire        Date of
  Number     Transaction                      Payee                      Purpose or Description       Amount
                           No disbursements to report
                                                              TOTAL                               $        -




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CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                  Bank of America
Account Number                                                XXXXXX5322
Purpose of Account (Operating/Payroll/Personal)               BCBG Local Taxes Account
Type of Account (e.g., Checking)                              Business Checking

   Wire        Date of
  Number     Transaction                      Payee                      Purpose or Description       Amount
                           No disbursements to report
                                                              TOTAL                               $        -




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                  Bank of America
Account Number                                                XXXXXX5322
Purpose of Account (Operating/Payroll/Personal)               BCBG Local Taxes Account
Type of Account (e.g., Checking)                              Business Checking

   Wire        Date of
  Number     Transaction                      Payee                      Purpose or Description       Amount
                           No disbursements to report
                                                              TOTAL                               $        -




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                     Bank of America
Account Number                                                   XXXXXX5322
Purpose of Account (Operating/Payroll/Personal)                  BCBG Local Taxes Account
Type of Account (e.g., Checking)                                 Business Checking

    Wire          Date of
   Number       Transaction                      Payee                      Purpose or Description       Amount
                              No disbursements to report
                                                                 TOTAL                               $        -




*Account Closed 9/17/2018




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CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                    Bank of America
Account Number                                                  XXXXXX8105
                                                                BCBG Concentration Account -
Purpose of Account (Operating/Payroll/Personal)                 Ecommerce/Retail Locations
Type of Account (e.g., Checking)                                ZBA

    Wire           Date of
   Number        Transaction                      Payee                     Purpose or Description       Amount
 Wire Transfer    07/16/18     Analysis Charge June             Corporate                            $    5,845.34
                                                                TOTAL                                $    5,845.34




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                   Bank of America
Account Number                                                 XXXXXX8105
                                                               BCBG Concentration Account -
Purpose of Account (Operating/Payroll/Personal)                Ecommerce/Retail Locations
Type of Account (e.g., Checking)                               ZBA

    Wire           Date of
   Number        Transaction                     Payee                     Purpose or Description    Amount
 Wire Transfer    08/15/18     Analysis Charge July            Corporate                            $ 2,792.27
                                                               TOTAL                                $ 2,792.27




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                    Bank of America
Account Number                                                  XXXXXX8105
                                                                BCBG Concentration Account -
Purpose of Account (Operating/Payroll/Personal)                 Ecommerce/Retail Locations
Type of Account (e.g., Checking)                                ZBA

    Wire            Date of
   Number         Transaction                     Payee                     Purpose or Description       Amount
 Wire Transfer     09/17/18     Analysis Charge August          Corporate                            $    1,999.02
                                                                TOTAL                                $    1,999.02




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CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                       Wells Fargo
Account Number                                                     XXXXXX6546
Purpose of Account (Operating/Payroll/Personal)                    Wells Fargo Concentration Account
Type of Account (e.g., Checking)                                   Checking

     Wire           Date of
    Number        Transaction                      Payee                         Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                                  $        -




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                       Wells Fargo
Account Number                                                     XXXXXX6546
Purpose of Account (Operating/Payroll/Personal)                    Wells Fargo Concentration Account
Type of Account (e.g., Checking)                                   Checking

     Wire           Date of
    Number        Transaction                      Payee                         Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                                  $        -




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                       Wells Fargo
Account Number                                                     XXXXXX6546
Purpose of Account (Operating/Payroll/Personal)                    Wells Fargo Concentration Account
Type of Account (e.g., Checking)                                   Checking

     Wire           Date of
    Number        Transaction                      Payee                         Purpose or Description       Amount
                                No disbursements to report
                                                                   TOTAL                                  $        -




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                JP Morgan Chase
Account Number                                              XXXXX4354
Purpose of Account (Operating/Payroll/Personal)             Chase Concentration Account
Type of Account (e.g., Checking)                            Checking

   Wire           Date of
  Number        Transaction                 Payee                      Purpose or Description     Amount
Wire Transfer    07/16/18     Chase Bank                    Account Analysis Settlement Charge   $ 2,511.69
                                                            TOTAL                                $ 2,511.69




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Name of Bank                                               JP Morgan Chase
Account Number                                             XXXXX4354
Purpose of Account (Operating/Payroll/Personal)            Chase Concentration Account
Type of Account (e.g., Checking)                           Checking

    Wire          Date of
   Number       Transaction                     Payee                 Purpose or Description       Amount
                              No disbursements to report
                                                           TOTAL                               $        -




*Account Closed 8/15/2018




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                               JP Morgan Chase
Account Number                                             XXXXX4354
                                                           Chase - Main Concentration Account - Store
Purpose of Account (Operating/Payroll/Personal)            #633, #759, #710, #702
Type of Account (e.g., Checking)                           Checking

    Wire          Date of
   Number       Transaction                     Payee                 Purpose or Description                Amount
                              No disbursements to report
                                                           TOTAL                                        $        -




*Account Closed 8/15/2018




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                TD
Account Number                                              XXXXXX2594
Purpose of Account (Operating/Payroll/Personal)             TD Bank - Store #415
Type of Account (e.g., Checking)                            Checking

   Wire           Date of
  Number        Transaction                 Payee                        Purpose or Description       Amount
Wire Transfer    07/16/18     TD Bank                       Service Charge                        $     658.86
                                                            TOTAL                                 $     658.86




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                               TD
Account Number                                             XXXXXX2594
Purpose of Account (Operating/Payroll/Personal)            TD Bank - Store #415
Type of Account (e.g., Checking)                           Checking

   Wire           Date of
  Number        Transaction                 Payee                     Purpose or Description       Amount
Wire Transfer    08/15/18     TD Bank                      Service Charge                      $     589.82
                                                           TOTAL                               $     589.82




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Name of Bank                                             TD
Account Number                                           XXXXXX2594
Purpose of Account (Operating/Payroll/Personal)          TD Bank - Store #415
Type of Account (e.g., Checking)                         Checking

   Wire           Date of
  Number        Transaction                 Payee                   Purpose or Description       Amount
Wire Transfer    09/17/18     TD Bank                    Service Charge                      $     358.54
                                                         TOTAL                               $     358.54




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                PNC Bank
Account Number                                              XXXXX-5171
Purpose of Account (Operating/Payroll/Personal)             BCBG Prime Outlets @ Hagerstown #469
Type of Account (e.g., Checking)                            Business Checking

   Wire         Date of
  Number      Transaction                     Payee                      Purpose or Description        Amount
                            No disbursements to report
                                                            TOTAL                                  $        -




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                               PNC Bank
Account Number                                             XXXXX-5171
Purpose of Account (Operating/Payroll/Personal)            BCBG Prime Outlets @ Hagerstown #469
Type of Account (e.g., Checking)                           Business Checking

   Wire           Date of
  Number        Transaction                 Payee                     Purpose or Description          Amount
Wire Transfer    07/31/18     PNC Bank                     Corporate Account Analysis Charge      $     439.47
                                                           TOTAL                                  $     439.47




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                             PNC Bank
Account Number                                           XXXXX-5171
Purpose of Account (Operating/Payroll/Personal)          BCBG Prime Outlets @ Hagerstown #469
Type of Account (e.g., Checking)                         Business Checking

    Wire          Date of
   Number       Transaction                 Payee                   Purpose or Description
Wire Transfer    08/31/18     PNC Bank                   Corporate Account Analysis Charge      $   457.46
Wire Transfer    09/28/18     PNC Bank                   Corporate Account Analysis Charge          433.31
                                                         TOTAL                                  $   890.77




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                  First Hawaiian
Account Number                                                XXXX4970
Purpose of Account (Operating/Payroll/Personal)               BCBG - Store #706
Type of Account (e.g., Checking)                              Business Checking

    Wire           Date of
   Number        Transaction                     Payee                    Purpose or Description       Amount
 Wire Transfer    07/02/18     First Hawaiian Bank            FHB Online Fee                       $       9.99
 Wire Transfer    07/06/18     Data Exchange                  Funds Transfer                              75.00
                                                              TOTAL                                $      84.99




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                First Hawaiian
Account Number                                              XXXX4970
Purpose of Account (Operating/Payroll/Personal)             BCBG - Store #706
Type of Account (e.g., Checking)                            Business Checking

     Wire           Date of
    Number        Transaction                     Payee                 Purpose or Description       Amount
 Wire Transfer     07/31/18     First Hawaiian Bank         E-Statement & Paper Fees             $       5.00
 Wire Transfer     08/20/18     Data Exchange               Funds Transfer                              85.59
                                                            TOTAL                                $      90.59




*Account Closed 8/20/2018




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                  First Hawaiian
Account Number                                                XXXX4970
Purpose of Account (Operating/Payroll/Personal)               BCBG - Store #706
Type of Account (e.g., Checking)                              Business Checking

     Wire           Date of
    Number        Transaction                     Payee                   Purpose or Description       Amount
                                No disbursements to report
                                                              TOTAL                                $        -




*Account Closed 8/20/2018




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                Bank of Hawaii
Account Number                                              XXX1887
Purpose of Account (Operating/Payroll/Personal)             BCBG - Stores #406 & #777
Type of Account (e.g., Checking)                            Business Checking

   Wire           Date of
  Number        Transaction                    Payee                   Purpose or Description       Amount
Wire Transfer    07/27/18     Bank of Hawaii                Account Analysis Fees               $     193.85
                                                            TOTAL                               $     193.85




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                              Bank of Hawaii
Account Number                                            XXX1887
Purpose of Account (Operating/Payroll/Personal)           BCBG - Stores #406 & #777
Type of Account (e.g., Checking)                          Business Checking

   Wire         Date of
  Number      Transaction                     Payee                  Purpose or Description       Amount
                            No disbursements to report
                                                          TOTAL                               $       -




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                              Bank of Hawaii
Account Number                                            XXX1887
Purpose of Account (Operating/Payroll/Personal)           BCBG - Stores #406 & #777
Type of Account (e.g., Checking)                          Business Checking

    Wire          Date of
   Number       Transaction                    Payee                 Purpose or Description       Amount
Wire Transfer    08/27/18     Bank of Hawaii              Account Analysis Fees               $     193.73
Wire Transfer    09/28/18     Bank of Hawaii              Account Analysis Fees                     193.77
                                                          TOTAL                               $     387.50




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                  US Bank
Account Number                                                XXXXXXXX6593
Purpose of Account (Operating/Payroll/Personal)               BCBG - Store #514
Type of Account (e.g., Checking)                              Business Checking

    Wire          Date of
   Number       Transaction                  Payee                       Purpose or Description       Amount
Wire Transfer    07/16/18     US Bank                         Account Analysis Service Fee        $     321.36
Wire Transfer    07/27/18     US Bank                         Account Analysis Service Fee              326.00
                                                              TOTAL                               $     647.36




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                      US Bank
Account Number                                                    XXXXXXXX6593
Purpose of Account (Operating/Payroll/Personal)                   BCBG - Store #514
Type of Account (e.g., Checking)                                  Business Checking

    Wire           Date of
   Number        Transaction                      Payee                      Purpose or Description       Amount
                               No disbursements to report
                                                                  TOTAL                               $        -




*Account Closed 8/7/2018




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                      US Bank
Account Number                                                    XXXXXXXX6593
Purpose of Account (Operating/Payroll/Personal)                   BCBG - Store #514
Type of Account (e.g., Checking)                                  Business Checking

    Wire           Date of
   Number        Transaction                      Payee                      Purpose or Description       Amount
                               No disbursements to report
                                                                  TOTAL                               $        -




*Account Closed 8/7/2018




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CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                    First Bank of the Lake
Account Number                                                  XXXX2061
Purpose of Account (Operating/Payroll/Personal)                 BCBG Factory, Osage Beach
Type of Account (e.g., Checking)                                Business Analysis Checking Account

    Wire         Date of
   Number      Transaction                     Payee                        Purpose or Description       Amount
                             No disbursements to report
                                                                TOTAL                                $        -




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                    First Bank of the Lake
Account Number                                                  XXXX2061
Purpose of Account (Operating/Payroll/Personal)                 BCBG Factory, Osage Beach
Type of Account (e.g., Checking)                                Business Analysis Checking Account

    Wire          Date of
   Number       Transaction                       Payee                     Purpose or Description       Amount
Wire Transfer    07/31/18     First bank of the Lake            Service Charge                       $      29.93
                                                                TOTAL                                $      29.93




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                      First Bank of the Lake
Account Number                                                    XXXX2061
Purpose of Account (Operating/Payroll/Personal)                   BCBG Factory, Osage Beach
Type of Account (e.g., Checking)                                  Business Analysis Checking Account

    Wire           Date of
   Number        Transaction                     Payee                        Purpose or Description       Amount
                               No disbursements to report
                                                                  TOTAL                                $        -




*Account Closed 8/28/2018




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JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                               Queenstown Bank
Account Number                                             XXXXX1501
Purpose of Account (Operating/Payroll/Personal)            BCBG Factory, Queenstown
Type of Account (e.g., Checking)                           Business Checking

   Wire        Date of
  Number     Transaction                     Payee                    Purpose or Description       Amount
                           No disbursements to report
                                                           TOTAL                               $        -




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                               Queenstown Bank
Account Number                                             XXXXX1501
Purpose of Account (Operating/Payroll/Personal)            BCBG Factory, Queenstown
Type of Account (e.g., Checking)                           Business Checking

   Wire         Date of
  Number      Transaction                     Payee                   Purpose or Description       Amount
                            No disbursements to report
                                                           TOTAL                               $        -




*Account Closed 7/31/2018




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                               Queenstown Bank
Account Number                                             XXXXX1501
Purpose of Account (Operating/Payroll/Personal)            BCBG Factory, Queenstown
Type of Account (e.g., Checking)                           Business Checking

   Wire         Date of
  Number      Transaction                     Payee                   Purpose or Description       Amount
                            No disbursements to report
                                                           TOTAL                               $        -




*Account Closed 7/31/2018




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CASH DISBURSEMENT DETAILS
JULY 2018 ACCOUNTING PERIOD - JULY 1, 2018 THROUGH JULY 28, 2018

Name of Bank                                                   Berkshire
Account Number                                                 XXX4191
Purpose of Account (Operating/Payroll/Personal)                Corporate Checking
Type of Account (e.g., Checking)                               Checking

    Wire          Date of
   Number       Transaction                    Payee                       Purpose or Description       Amount
Wire Transfer    07/17/18     Berkshire Bank                   Maintenance Fees                     $      15.01
                                                               TOTAL                                $      15.01




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AUGUST 2018 ACCOUNTING PERIOD - JULY 29, 2018 THROUGH AUGUST 25, 2018

Name of Bank                                                  Berkshire
Account Number                                                XXX4191
Purpose of Account (Operating/Payroll/Personal)               Corporate Checking
Type of Account (e.g., Checking)                              Checking

    Wire           Date of
   Number        Transaction                    Payee                     Purpose or Description       Amount
Wire Transfer     08/17/18     Berkshire Bank                 Maintenance Fees                     $      15.01
                                                              TOTAL                                $      15.01




*Account Closed 8/21/2018




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SEPTEMBER 2018 ACCOUNTING PERIOD - AUGUST 26, 2018 THROUGH SEPTEMBER 29, 2018

Name of Bank                                                      Berkshire
Account Number                                                    XXX4191
Purpose of Account (Operating/Payroll/Personal)                   Corporate Checking
Type of Account (e.g., Checking)                                  Checking

    Wire           Date of
   Number        Transaction                     Payee                        Purpose or Description       Amount
                               No disbursements to report
                                                                  TOTAL                                $        -




*Account Closed 8/21/2018




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